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UNITED S'I`ATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

X
ERIC SORENSON,
Plaintiff,
STIPULATION TO
- against - SUBSTITUTE COUNSEL
Index No.
SANDRA SIMPSON, lS-cv-4614 (AMD-ST)
Defendant.
X

 

IT IS HEREBY STIPULATED AND AGREED that the attorney of record for the
Defendant Sandra Simpson be changed, and that Defendant Sandra Simpson shall now proceed
Pro Se in above-entitled action in the place and in the stead of Maria Isabel S. Guerrero, Esq. as

her attomey.

DATED: May 26, 2017

   

 

 

Albany, NY
MARIA ISABEL S. GUERRERO, ESQ. DEFENDANT: S N SIMPSON
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j"-"` _-'.,"`J..é-~ ,_,,,..'>‘,! _ _*.` i,__'-__d'¢j'
Maria Isabel S. Guerrero, Esq. Sandra Simpsdn /
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